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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

MICHELLE YUREK,

             Plaintiff,                         Case No. 2:17-cv-13524
                                                District Judge Denise Page Hood
v.                                              Magistrate Judge Anthony P. Patti

PARKWAY CHRYSLER-JEEP,
INC. d/b/a PARKWAY
CHRYSLER DODGE JEEP RAM,
MICHAEL RILEY, and CHARLES
“CHUCK” R. RILEY,

          Defendants.
___________________________________/

     ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL AND
          EXTEND DISCOVERY AS UNOPPPOSED (DE 16)

      This matter is before the Court for consideration of Plaintiff’s June 6, 2018

motion to compel and extend discovery. (DE 16.) Plaintiff served Defendants

with Plaintiff’s First Discovery Requests Directed to Defendants on February 16,

2018 and, as of the filing of the motion, Defendants had not yet answered those

requests. Plaintiff asks the Court to: (1) order Defendants to provide responses to

the interrogatories and produce documents responsive to the requests with no

objections; (2) extend the discovery deadline; and (3) award Plaintiff costs and

attorney’s fees associated with the filing of the motion. This matter was referred to
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me on June 20, 2018. (DE 18.) To date, Defendants have not filed a response in

opposition to Plaintiff’s motion.

      Under Eastern District of Michigan Local Rule 7.1(e)(2)(b), Defendants’

response in opposition was due fourteen days after the motion was served, or June

20, 2018. To date, no response has been filed. Accordingly, Plaintiff’s motion to

compel (DE 16) is GRANTED AS UNOPPOSED as follows:

      1. Defendants shall serve written responses and produce responsive
         documents, without objections, to Plaintiff’s First Discovery Requests
         Directed to Defendants by Wednesday, July 11, 2018;

      2. All of Defendants’ objections to Plaintiff’s First Discovery Requests
         Directed to Defendants, with the exception of objections based on
         attorney-client privilege or the work product doctrine, are deemed
         waived for Defendants’ failure to timely respond to Plaintiff’s discovery
         requests. See Fed. R. Civ. P. 33(b)(4); Lairy v. Detroit Med. Ctr., No.
         12-11668, 2012 WL 5268706, at *1 (E.D. Mich. Oct. 23, 2012) (“As a
         general rule, failure to respond to discovery requests within the thirty
         days provided by Rules 33 and 34 constitutes a waiver of any
         objection.”) (quoting Carfagno v. Jackson Nat’l Life Ins., No. 99-118,
         2001 WL 34059032, at *1 (W.D. Mich. Feb. 13, 2001)). Defendants are
         reminded of their obligation to provide a privilege log describing any
         documents withheld as privileged or work product. Fed. R. Civ. P.
         26(b)(5);

      3. The discovery deadline is extended to August 15, 2018; and

      4. Plaintiff is awarded her reasonable costs and attorney’s fees associated
         with the preparation of this motion, pursuant to Fed. R. Civ. P. 37(a)(5),
         and shall submit an itemized bill of costs for the Court’s consideration
         via ECF on or before July 2, 2018 in support thereof; thereafter, any
         specific objections to the amount of fees or costs being sought must be
         filed by Defendants on or before July 6, 2018.


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      IT IS SO ORDERED.



Dated: June 27, 2018                   s/Anthony P. Patti
                                       Anthony P. Patti
                                       UNITED STATES MAGISTRATE JUDGE




                              Certificate of Service

I hereby certify that a copy of the foregoing document was sent to parties of record
on June 27, 2018, electronically and/or by U.S. Mail.

                                       s/Michael Williams
                                       Case Manager for the
                                       Honorable Anthony P. Patti




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